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 7   Attorney(s) for Plaintiff,
 8   SYMBOLOGY INNOVATIONS, LLC

 9                      UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA

11
     SYMBOLOGY INNOVATIONS, LLC,                   Case No. 2:19-CV-07192- GW-AS
12
                 Plaintiffs,                       NOTICE OF VOLUNTARY
13
          vs.                                      DISMISSAL WITH PREJUDICE
14

15 CALIFORNIA BABY, INC.

16               Defendant.
17

18

19        Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the
20 Federal Rules of Civil Procedure, herby provides notice that it dismisses WITH

21 PREJUDICE all claims in this cause of action against Defendant California Baby,

22 Inc. Each party shall bear its own costs, expenses, and attorneys’ fees.

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                         NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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 1   Dated: December 3, 2019                          Respectfully Submitted,
 2
                                                      /s/ Kirk J. Anderson
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 8
                                                      Attorney(s) for Plaintiff Symbology
 9                                                    Innovations, LLC
10

11

12                            CERTIFICATE OF SERVICE
13        I hereby certify that on December 3, 2019, I electronically filed the above
14 documents with the Clerk of Court using CM/ECF which will send electronic

15 notification of such filings to all registered counsel.

16

17                                                 /s/ Kirk J. Anderson
                                                   Kirk J. Anderson
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                         NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
